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                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF CALIFORNIA
                               FRESNO DIVISION

JERRY COX, et al.,                              §
                                                §
                      Plaintiffs,               §
                                                §
VS.                                             §           CIVIL ACTION NO. 1:19-1105-LHR.
                                                §
MARIPOSA COUNTY, et al.,                        §
                                                §
                                                §
                      Defendants.               §

                               AMENDED SCHEDULING AND
                                DOCKET CONTROL ORDER

       The disposition of this case will be controlled by the following schedule:


1.     September 6, 2024_________INTERIM PRETRIAL CONFERENCE
                                 Conference will be held by Zoom at 1:30 P.M. Central
                                 Time.


2.     September 20, 2024______ COMPLETION OF DISCOVERY
                                Written discovery requests are not timely if they are filed so
                                close to this deadline that under the Federal Rules of Civil
                                Procedure the response would not be due until after the
                                deadline.

3.     September 20, 2024________EXPERT DISCLOSURE CUTOFF
                                 The plaintiff (or the party with the burden of proof on an
                                 issue) will designate expert witnesses in writing and
                                 provide the report required by Rule 26(a)(2) of the Federal
                                 Rules of Civil Procedure.

4.     May 2, 2025______________PRETRIAL CONFERENCE
                                Conference will be held by Zoom at 1:30 P.M. Central
                                Time.

5.     May 23, 2025_____________TRIAL
                                Trial will be held in a courtroom and at a time to be
                                determined.
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6.     Additional orders relating to disclosures, discovery, or pretrial motions:

       Any party wishing to make any discovery motions should arrange for a premotion
conference with the court before the preparation and submission of any motion papers. That
includes a motion to compel, to quash, or for protection.            Email Mrs. Eddins at
Lisa_Eddins@txs.uscourts.gov or fax her at 713-250-5213 to arrange for a premotion conference.
Notify your adversary of the date and time for the conference.


              SIGNED on June 28, 2024, at Houston, Texas.


                                                           _______________________________
                                                                    Lee H. Rosenthal
                                                                United States District Judge




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